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  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10 BORREGO COMMUNITY HEALTH                      Case No. 3:22-cv-01056-AJB-AGS
    FOUNDATION, a California nonprofit
 11 public benefit corporation,
 12               Plaintiff,
                                                  ORDER GRANTING JOINT
 13        vs.                                    MOTION TO EXTEND TIME TO
                                                  FILE RESPONSE TO COMPLAINT
 14 KAREN HEBETS, an individual;
    MIKIA WALLIS, an individual;
 15 DIANA THOMPSON, f/k/a DIANA
    TRONCOSO, an individual;
 16 HARRY ILSLEY, an individual;
 17 DENNIS    NOURSE, an individual;
    MIKE HICKOK, an individual;
 18 CHUCK KIMBALL, an individual;
    PREMIER HEALTHCARE
 19 MANAGEMENT, INC., a California
    Corporation; SUMMIT
 20 HEALTHCARE MANAGEMENT,
    INC., a California Corporation;
 21 DARYL PRIEST, an individual;
    NICHOLAS PRIEST, an individual;
 22 TRAVIS LYON, an individual;
    HUSAM E. ALDAIRI, D.D.S., an
 23 individual; ALDAIRI DDS, INC., a
 24 California corporation; AYED
    HAWATMEH, D.D.S., an individual;
 25 HAWATMEH DENTAL GROUP,
    P.C., a California Corporation;
 26 ALBORZ MEHDIZADEH, D.D.S., an
    individual; ALBORZ MEHDIZADEH,
 27 INC., a California Corporation;
    JILBERT BAKRAMIAN, D.D.S., an
 28 individual; MOHAMMED
                                                                 Case No. 3:22-cv-01056-AJB-AGS
           ORDER GRANTING JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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  1 ALTEKREETI, D.D.S., an individual;
    MAGALY VELASQUEZ, D.D.S., an
  2 individual; MAGALY M.
    VELASQUEZ DDS PROFESSIONAL
  3 DENTAL CORP., a California
    Corporation; ARAM ARAKELYAN,
  4 D.D.S., an individual; NEW
  5 MILLENNIUM DENTAL GROUP OF
    ARAM ARAKELYAN, INC., a
  6 California Corporation; MICHAEL
    HOANG, D.M.D., an individual;
  7 WALEED STEPHAN, D.D.S., an
    individual; W.A. STEPHAN, A
  8 DENTAL CORPORATION,
    a California Corporation; SANTIAGO
  9 ROJO, D.D.S., an individual;
    SANTIAGO A. ROJO, D.D.S., INC., a
 10 California Corporation; MARCELO
    TOLEDO, D.D.S., an individual;
 11 MARCELO TOLEDO, D.D.S., INC., a
    California corporation; MARLENE
 12 THOMPSON, D.D.S., an individual;
    MARLENE THOMPSON, D.D.S.,
 13 INC., a California Corporation;
    DOUGLAS NESS, D.D.S., an
 14 individual; NESS DENTAL
    CORPORATION, a California
 15 Corporation; GEORGE JARED,
    D.D.S., an individual; GEORGE
 16 JARED, D.D.S., INC., a California
    corporation; JAMES HEBETS, an
 17 individual; THE HEBETS COMPANY,
    a Missouri Corporation; and DOES 1-
 18 250, inclusive,
 19               Defendants.
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                                              2                  Case No. 3:22-cv-01056-AJB-AGS
           ORDER GRANTING JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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  1        Upon review of the Joint Motion to Extend Time to File Response to Complaint
  2 filed by Plaintiff Borrego Community Health Foundation (“Plaintiff”) and Defendant
  3 Charles (“Chuck”) Kimball (“Defendant”), and good cause appearing, the Motion is
  4 hereby GRANTED. The Defendant shall file an answer, or otherwise respond, to the
  5 Complaint on or before October 21, 2022.
  6        IT IS SO ORDERED.
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  8 Dated: September 26, 2022
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                                              3                  Case No. 3:22-cv-01056-AJB-AGS
           ORDER GRANTING JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
